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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

  HENRIETTA SMITH, as next friend of
  H.K. and N.S., et al.,
       Plaintiffs,
             v.                              CIVIL ACTION FILE
                                             NO. 1:24-CV-2102-TWT
  STACEY BAINS, et al.,

       Defendants.


                          OPINION AND ORDER

      This is a civil rights case. It is before the Court on Defendants Stacey

Bains, Amanda Brown, and Kara Padgett’s 1 Motion to Dismiss [Doc. 11]. For

the reasons set forth below, the Supervisory Defendants’ Motion to Dismiss

[Doc. 11] is DENIED.

                            I.     Background 2

      This case involves alleged deliberate indifference that resulted in an

incarcerated person’s suicide. Nicole Smith was a pretrial detainee who had

been incarcerated for almost eight months at the time she committed suicide

on May 19, 2022. (Compl. ¶¶ 3-4, 27). Defendant Bains held the rank of major

at Smith’s detention center and had supervisory authority over the detention




      1 Throughout this Opinion and Order, the Court will refer to these three

Defendants as the “Supervisory Defendants.”
      2 The Court accepts the facts as alleged in the Complaint as true for

purposes of the present Motion to Dismiss. Wilding v. DNC Servs. Corp., 941
F.3d 1116, 1122 (11th Cir. 2019).
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officers assigned to Smith’s unit. (Id. ¶¶ 100-01). Defendant Brown was a

sergeant and supervisor in Smith’s unit. (Id. ¶ 64). Defendant Padgett was a

captain employed by the Cobb County Sheriff’s Office and served as the

detention center’s watch commander on May 13-15 and 18, 2022. (Id. ¶¶ 83-84)

Smith had attempted suicide three previous times before she committed

suicide. She first attempted suicide by tying a sheet around her neck on April

5, 2022. (Id. ¶ 5). Afterwards, the jail staff placed her on a form of suicide watch

called “close observation.” (Id. ¶ 6).

       Inmates on close observation are not allowed access to clothing, linens,

personal hygiene products, or any items that may be used to commit suicide.

(Id. ¶ 10). This generally meant that inmates in close observation were only

allowed to possess an anti-suicide safety smock and a mattress. (Id. ¶ 11).

However, under jail policy, inmates on close observations were given mesh

underwear during their menstrual cycles. (Id. ¶ 12). These were the only

underwear permitted to inmates on suicide watch, and they were not designed

to prevent suicide. (Id. ¶¶ 13-14).

       On April 9, 2022, Smith began refusing her prescribed psychiatric

medications. (Id. ¶ 8). Then on April 11, 2022, Smith used the mesh underwear

supplied to her to create a ligature tied around her neck. (Id. ¶ 16). A jail

employee discovered the suicide attempt while conducting a routine wellness

check. (Id. ¶ 17). Approximately a month later, Smith attempted suicide in the


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same manner with the same type of mesh underwear. (Id. ¶¶ 19-20). This time,

another inmate alerted a guard to the suicide attempt. (Id. ¶ 21). Jail staff

transported Smith to the hospital for emergency treatment, but she declined

treatment and was discharged the same evening. (Id. ¶¶ 25-26). A few days

later Smith committed suicide with another pair of mesh underwear that the

jail staff had given to her. (Id. ¶ 27).

       The Plaintiffs assert alternative theories of liability resulting from these

events. In Counts I and II, they allege that the detention officers were made

aware that Smith should not be given mesh underwear but that they gave them

to her anyways. (Compl. ¶¶ 30-50). Alternatively, they assert in Counts IV

through VI that the Supervisory Defendants were deliberately indifferent by

failing to inform the detention officers that Smith should not be given mesh

underwear. (Compl. ¶¶ 63-120). The Supervisory Defendants move to dismiss

the claims against them (Counts IV-VI) on qualified immunity grounds.

                              II.      Legal Standard

       A complaint should be dismissed under Rule 12(b)(6) only where it

appears that the facts alleged fail to state a “plausible” claim for relief. Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009); Fed. R. Civ. P. 12(b)(6). A complaint may

survive a motion to dismiss for failure to state a claim, however, even if it is

“improbable” that a plaintiff would be able to prove those facts; even if the

possibility of recovery is extremely “remote and unlikely.” Bell Atl. Corp. v.


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Twombly, 550 U.S. 544, 556 (2007). In ruling on a motion to dismiss, the court

must accept the facts pleaded in the complaint as true and construe them in

the light most favorable to the plaintiff. See Quality Foods de Centro Am., S.A.

v. Latin Am. Agribusiness Dev. Corp., S.A., 711 F.2d 989, 994-95 (11th Cir.

1983); see also Sanjuan v. Am. Bd. of Psychiatry & Neurology, Inc., 40 F.3d

247, 251 (7th Cir. 1994) (noting that at the pleading stage, the plaintiff

“receives the benefit of imagination”). Generally, notice pleading is all that is

required for a valid complaint. See Lombard’s, Inc. v. Prince Mfg., Inc., 753

F.2d 974, 975 (11th Cir. 1985). Under notice pleading, the plaintiff need only

give the defendant fair notice of the plaintiff’s claim and the grounds upon

which it rests. See Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing Twombly,

550 U.S. at 555).

                               III.   Discussion

      “Qualified    immunity    protects   government     officials   performing

discretionary functions . . . from liability if their conduct violates no clearly

established statutory or constitutional rights of which a reasonable person

would have known.” Jacoby v. Baldwin Cnty., 835 F.3d 1338, 1343-44 (11th

Cir. 2016) (citation omitted). If the official was performing a discretionary

function, “the burden shifts to the plaintiff to show that qualified immunity is

not appropriate.” Matthews v. Crosby, 480 F.3d 1265, 1269. “To do so, the

plaintiff must: (1) allege facts that establish that the officer violated his


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constitutional rights; and (2) show that the right involved was clearly

established at the time of the putative misconduct.” Jacoby, 835 F.3d at 1344

(alteration, quotation marks, and citation omitted).

      There is no dispute here that the Supervisory Defendants were acting

in their discretionary authority during the alleged events. (Pls.’ Br. in Opp’n to

Mot. to Dismiss, at 16 n.7). The Court therefore starts by analyzing whether

the Plaintiffs have sufficiently alleged a violation of Smith’s constitutional

rights. Finding that they have, the Court then turns to whether that right was

clearly established at the time of the events.

   A. Constitutional Violation Prong

      The Plaintiffs assert claims of deliberate indifference against each of the

Supervisory Defendants. (Compl. ¶¶ 63-120). 3 “A prison official acted with

deliberate indifference if he (1) had subjective knowledge of a risk of serious

harm, (2) disregarded that risk, and (3) engaged in conduct that amounts to

subjective recklessness.” Stalley v. Cumbie, 124 F.4th 1273, 1283 (11th Cir.

2024) (citation omitted). “[I]n a prison suicide case, deliberate indifference




      3  Smith was a pretrial detainee at the time of the relevant events.
(Compl. ¶ 3). Accordingly, these claims arise under the Fourteenth
Amendment rather than the Eighth Amendment. Cook ex rel. Estate of Tessier
v. Sheriff of Monroe Cnty., Fla., 402 F.3d 1092, 1115 (11th Cir. 2005).
“Nevertheless, in regard to providing pretrial detainees with such basic
necessities as . . . medical care[,] the minimum standard allowed by the due
process clause is the same as that allowed by the eighth amendment for
convicted persons.” Id. (quotation marks and citation omitted).
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requires that the defendant deliberately disregard a strong likelihood rather

than a mere possibility that the self-infliction of harm will occur. [T]he mere

opportunity for suicide, without more, is clearly insufficient to impose liability

on those charged with the care of prisoners.” Snow ex rel. Snow v. City of

Citronelle, 420 F.3d 1262, 1268-69 (11th Cir. 2005) (quotation marks and

citation omitted).

      The Supervisory Defendants raise several arguments as to why the

Plaintiffs have not alleged a constitutional violation. First, they argue that the

Plaintiffs fail to state supervisory liability claims against them. (Defs.’ Br. in

Supp. of Mot. to Dismiss, at 10-15, 21-23). In their Response, the Plaintiffs

clarify that they are asserting direct liability claims against the Supervisory

Defendants rather than supervisory liability claims. (Pls.’ Br. in Opp’n to Mot.

to Dismiss, at 19). Consequently, the Supervisory Defendants’ arguments

about supervisory liability are inapposite.

      Next, the Supervisory Defendants contend that the Plaintiffs have not

plausibly alleged that the Supervisory Defendants had the requisite mens rea.

(Defs.’ Br. in Supp. of Mot. to Dismiss, at 15-21). Their strongest argument is

that the Plaintiffs fail to meet the requirements laid out in Wade v. McDade,

106 F.4th 1251 (11th Cir. 2024) (en banc). Prior to Wade, the Supreme Court

adopted “subjective recklessness as used in the criminal law” as the test for

deliberate indifference in the Eighth Amendment context. Farmer v. Brennan,


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511 U.S. 825, 839-40 (1994). In Wade, the Eleventh Circuit held that “in order

to show that a defendant acted with ‘subjective recklessness as used in the

criminal law,’ a deliberate-indifference plaintiff must demonstrate that the

defendant was actually aware that his own conduct caused a substantial risk

of serious harm to the plaintiff.” Id. at 1261 (citation omitted). The Court finds

that the Plaintiffs have met this standard at this stage of the litigation. 4

       The Complaint alleges that each of the three Supervisory Defendants

knew that Smith previously attempted suicide with mesh underwear provided

to her. (Compl. ¶¶ 66-67, 91, 104-105). It further alleges that each of them

knew that mesh underwear would be provided to Smith unless a directive was

issued otherwise. (Id. ¶¶ 64-65, 69, 92-93, 104-106, 114-115). 5 It asserts that

each of them knew that other methods of informing the deputies not to provide

mesh underwear to Smith were not utilized and that the deputies did not

otherwise know that Smith attempted suicide with the underwear. (Id. ¶¶ 72,




      4 In addition to arguing that they have met this standard, the Plaintiffs

assert that a civil recklessness standard should apply for purposes of
Fourteenth Amendment deliberate indifference claims. (Pls.’ Br. in Opp’n to
Mot. to Dismiss, at 23-25). Because the Court finds that the Plaintiffs have
sufficiently alleged criminal recklessness, the Court declines to address this
argument.
       5 For Defendant Brown, the Complaint does not expressly state that she

knew the underwear would be provided without an order preventing it.
However, that can be reasonably inferred from the fact that she was the
supervisor of the housing unit and was allegedly “responsible for ensuring that
the oncoming shift knew that Ms. Smith was not allowed to possess mesh
underwear.” (Compl. ¶ 69).
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74-75, 77-80, 93-95, 107-111). Despite that, the Supervisory Defendants

allegedly did nothing to prevent the deputies from providing Smith with mesh

underwear. (Id. ¶¶ 69-70, 72-73, 76, 96, 112-113, 116-117). Being that this case

is before the Court on a motion to dismiss, the Court must accept those

allegations as true.

      Those allegations indicate that the Supervisory Defendants knew that

the mesh underwear posed a substantial risk of harm to Smith, knew that

inaction would lead her to continue receiving the mesh underwear, and chose

not to take action anyways. Moreover, this mesh underwear was not a latent

pre-existing risk that she faced; rather, the Supervisory Defendants’ inaction

is what caused her to have access to the underwear. See Wade, 106 F.4th at

1259 (“The Court's focus [in Farmer], it seems to us, was on whether the official

knew that his own conduct—again, his own acts or omissions—put the inmate

at risk, not just whether the inmate confronted a risk in the abstract.” (citation

omitted)). Thus, the Court finds that these allegations show that the

Supervisory Defendants were acting with deliberate indifference to the mesh

underwear risk and “exposed a prisoner to a sufficiently substantial risk of

serious damage to his future health.” Id. at 1258 (quotation marks omitted).

      Wade describes a caveat that even if a plaintiff shows that a defendant

“was subjectively aware that his conduct put the plaintiff at substantial risk of

serious harm,” the defendant may not be found liable if he “respond[ed]


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reasonably to a risk.” Id. at 1255 (quotation marks and citation omitted). The

Supervisory Defendants do not argue that they are protected by this caveat.

However, they argue elsewhere in the brief that this case is different from

other prison suicide cases because here there were “numerous ongoing

precautions [that] were taking place to prevent Smith from committing

suicide.” (Defs.’ Br. in Supp. of Mot. to Dismiss, at 17). While those precautions

may have been a reasonable response to Smith’s initial suicide attempt with a

sheet, they proved to be ineffectual after Smith attempted suicide twice with

the mesh underwear provided to her while she was under close observation.6

Certainly after the second attempted suicide with the mesh underwear

required hospitalizing Smith, the Supervisory Defendants knew of the specific

risk posed by the mesh underwear. 7 According to the Complaint, the



      6 This is particularly true in the second suicide attempt with the mesh

underwear because in that instance, it was another inmate that noticed that
Smith was attempting suicide and alerted the guards. (Compl. ¶ 21). The noted
precautions did not play any role in thwarting that attempt.
       7 The Supervisory Defendants’ knowledge of the threat posed by the

mesh underwear is certainly not changed by the fact that Smith did not commit
suicide in her first six months in jail or that the hospital discharged Smith
after she declined treatment. (Defs.’ Br. in Supp. of Mot. to Dismiss, at 16;
Compl. ¶ 26). The Supervisory Defendants also point to the fact that the
mental health professionals who saw Smith after her second suicide attempt
with the mesh underwear did not escalate her from “close observation” to
“constant watch.” (Defs.’ Br. in Supp. of Mot. to Dismiss, at 16-17). The first
issue with this argument is that it relies entirely on allegations not
incorporated into the relevant counts. Furthermore, Smith was in the same
category of suicide watch that she was in when her previous two attempts took
place, so there was no reason to think that she was less likely to commit suicide
than she was when she made her first two attempts with the mesh underwear.
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Supervisory Defendants did nothing to mitigate that risk. That is not

reasonable.

      The Court therefore finds that the Complaint plausibly alleges the

requirements defined in Wade. The Supervisory Defendants’ other mens rea

arguments may be addressed more summarily. They assert, “[i]n cases where

prisoners manage to harm themselves in ways that seem improbable, courts

usually hold that officers do not act with ‘deliberate indifference’ by failing to

guard against unlikely events.” (Defs.’ Br. in Supp. of Mot. to Dismiss, at 18).

The idea that the way Smith committed suicide was so improbable as to be

considered unfeasible is preposterous. She had attempted suicide twice by the

same exact method, and one of those times was less than a week prior to when

she in fact committed suicide. Unsurprisingly, neither of the cases to which the

Supervisory Defendants cite involve allegations that the decedent previously

attempted suicide by the same means. See Gish v. Thomas, 516 F.3d 952 (11th

Cir. 2008); Cagle v. Sutherland, 334 F.3d 980 (11th Cir. 2003).

      Finally, the Supervisory Defendants state that there were at least

twelve ways in which subordinates could have been informed not to give Smith

underwear. (Defs.’ Br. in Supp. of Mot. to Dismiss, at 20). “As such, it is too

great a leap to assume Major Bains, Captain Padgett, and Sergeant Brown

each drew the conclusion that if she did not personally ensure all staff knew

not to provide Smith underwear, Smith would very likely succeed in


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committing suicide.” (Id. at 20-21). However, the allegations to which the

Supervisory Defendants cite for the twelve methods each state that the

relevant Defendant knew these methods were not being used. Since the Court

must accept factual allegations as true, there is no “leap” at all to say that the

Supervisory Defendants knew that no one else had issued a directive to not

provide mesh underwear to Smith. The Court accordingly finds that the

Plaintiffs have alleged deliberate indifference in violation of the Fourteenth

Amendment.

   B. Clearly Established Prong

      To overcome qualified immunity, the right at issue must be “clearly

established such that a reasonable official would understand that what he is

doing violates that right.” Coffin v. Brandau, 642 F.3d 999, 1013 (11th Cir.

2011) (en banc) (citation omitted). 8 Plaintiffs may demonstrate this in three



      8 In its research, the Court has come across an Eleventh Circuit case

quoting a Ninth Circuit case stating, “[a] finding of deliberate indifference
necessarily precludes a finding of qualified immunity; prison officials
who deliberately ignore the serious medical needs of inmates cannot claim that
it was not apparent to a reasonable person that such actions violated the law.”
Hill v. DeKalb Reg’l Youth Det. Ctr., 40 F.3d 1176, 1186 (11th Cir. 1994)
(quoting Hamilton v. Endell, 981 F.2d 1062, 1066 (9th Cir. 1992). The Eleventh
Circuit subsequently stated that that statement was dicta and demurred on
the question of whether a finding of deliberate indifference necessarily satisfies
the clearly established prong. Lancaster v. Monroe County, 116 F.3d 1419,
1426 n. 7 (11th Cir. 1997). Moreover, the Ninth Circuit later overruled the
quoted portion of Hamilton. Estate of Ford v. Ramirez-Palmer, 301 F.3d 1043
(9th Cir. 2002) (“Accordingly, we conclude that Hamilton, which collapses the
deliberate indifference part of the constitutional inquiry into the qualified
immunity inquiry, has been undermined by Saucier.”). For these reasons, the
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ways:

        First, the plaintiffs may show that a materially similar case has
        already been decided. Second, the plaintiffs can point to a
        broader, clearly established principle [that] should control the
        novel facts [of the] situation. Finally, the conduct involved in the
        case may so obviously violate[ ] th[e] constitution that prior case
        law is unnecessary.

Terrell v. Smith, 668 F.3d 1244, 1255 (11th Cir. 2012) (quotation marks and

citations omitted). Under Eleventh Circuit precedent, the Court may look “only

to binding precedent—cases from the United States Supreme Court, the

Eleventh Circuit, and the highest court of the state under which the claim

arose—to determine whether the right in question was clearly established at

the time of the violation.” Coffin, 642 F.3d at 1013 (citation omitted). “Cases

successfully invoking the second and third rationales are rare.” Lindley v.

Birmingham, 652 F. App’x 801, 807 (11th Cir. 2016) (citation omitted).

        The Plaintiffs do not point to a materially similar case or argue that this

alleged violation is so obvious that prior case law is unnecessary. (Pls.’ Br. in

Opp’n to Mot. to Dismiss, at 16-18). Instead, they rely on the second category

and contend that “the law is clearly established that an officer cannot simply

ignore a known risk of suicide.” (Id. at 16) (citation omitted). Specifically, they

cite to Snow, 420 F.3d at 1270, which states, “[b]ecause, at the time of Poiroux’s

death, it was clearly established that an officer’s deliberate indifference to the




Court will conduct a full analysis of the clearly established prong.
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risk of serious harm to a detainee is a violation of the Fourteenth Amendment,

the district court erroneously granted summary judgment on Snow’s claim

against Chennault.” (citation omitted); see also Patel v. Lanier County, 969

F.3d 1173, 1190 (11th Cir. 2020) (“This broad principle has put all

law-enforcement officials on notice that if they actually know about a condition

that poses a substantial risk of serious harm and yet do nothing to address it,

they violate the Constitution.”).

      The Supervisory Defendants respond by arguing that this case is

factually distinct. (Reply Br. in Supp. of Mot. to Dismiss, at 6-7, 10). This

misses the point. Material similarity is a question under the first category of

clearly established law, but the Plaintiffs are asserting arguments under the

second category, which involves identifying a “broader, clearly established

principle [that] should control the novel facts [of the] situation.” Terrell, 668

F.3d at 1255 (emphasis added) (quotation marks and citation omitted).

Because the relevant principle falls under the second category, Snow could rely

on McElligott v. Foley, 182 F.3d 1248 (11th Cir. 1999)—a case alleging

deliberate indifference with respect to the plaintiff’s serious medical needs

related to cancer—to satisfy the clearly established prong in a prison suicide

case. Snow, 420 F.3d at 1270.

      Similarly, the facts here fit the broad principle that the Eleventh Circuit

has recognized, even if the facts are not the exact same as those previous cases.


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As stated above, following the two suicide attempts with the mesh underwear,

the Supervisory Defendants actually knew the substantial risk of serious harm

that the mesh underwear posed to Smith. Despite that, they did nothing to

prevent Smith from having access to mesh underwear. The law at the time of

the events in this case was sufficient to put the Supervisory Defendants on

notice that they could not ignore the substantial risk of serious harm that

continuing to give Smith the mesh underwear posed. Accordingly, the Court

finds that the Plaintiffs have carried their burden of showing that qualified

immunity does not apply at this stage of the litigation.

                                  IV.    Conclusion

      For the foregoing reasons, the Supervisory Defendants’ Motion to

Dismiss [Doc. 11] is DENIED.

      SO ORDERED, this         26th      day of February, 2025.


                                              _________________________ ___
                                              THOMAS W. THRASH, JR.
                                              United States District Judge




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